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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :      CHAPTER 7
                                               :
VICTOR VU NGUYEN,                              :      CASE NO. 20-65736-PWB
                                               :
            Debtor.                            :

         NOTICE OF PLEADING, DEADLINE TO OBJECT, AND FOR HEARING

         PLEASE TAKE NOTICE that on November 3, 2020, S. Gregory Hays, as Chapter 7

Trustee (“Trustee”) for the bankruptcy estate (the “Bankruptcy Estate”) of Victor Vu Nguyen

(“Debtor”), filed Trustee’s Motion for Compromise and Settlement [Doc. No. 24] (the “Motion”)

and related papers with the Court, seeking an order, among other things, authorizing Trustee to

settle and compromise a Preference Claim for total payments to the bankruptcy estate of $6,000.

         Pursuant to General Order No. 24-2018, the Court may consider this matter without further

notice or a hearing if no party in interest files a response or objection within twenty-one (21) days

from the date of service of this notice. If you object to the relief requested in the Motion, you must

timely file your objection with the Bankruptcy Clerk at: Bankruptcy Clerk, U.S. Bankruptcy

Court, Suite 1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303, and serve a copy on the

Trustee, S. Gregory Hays, Trustee, 2964 Peachtree Road, NW, Atlanta, GA 30305 and any other

appropriate persons by the objection deadline. The response or objection must explain your position

and be actually received by the Bankruptcy Clerk within the required time.

         A hearing on the Motion has been scheduled for December 3, 2020 at 10:00 a.m., in

Courtroom 1401, United States Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia. If an

objection or response is timely filed and served, the hearing will proceed as scheduled. If you do

not file a response or objection within the time permitted, the Court may grant the relief
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requested without further notice or hearing provided that an order approving the relief requested is

entered at least one business day prior to the scheduled hearing. If no objection is timely filed, but no

order is entered granting the relief requested at least one business day prior to the hearing, the hearing

will be held at the time and place as scheduled.

        Given the current public health crisis, hearings may be telephonic only. Please check the

“Important Information Regarding Court Operations During COVID-19 Outbreak” tab at the top

of the GANB Website prior to the hearing for instructions on whether to appear in person or by

phone.”

        Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,

you may wish to consult one.

        Dated: November 3, 2020.
                                                          /s/ S. Gregory Hays
                                                         S. Gregory Hays
Hays Financial Consulting, LLC                           Chapter 7 Trustee
2964 Peachtree Road, NW, Ste 555
Atlanta, GA 30305
(404) 926-0060
